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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-CV-1300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

        Plaintiffs,

  vs.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

        Defendant.

  RESPONSE OF LAS ANIMAS COUNTY SHERIFF JAMES CASIAS
          TO DEFENDANT’S INTERROGATORIES

         Sheriff Casias, by and through his undersigned counsel, and pursuant to Fed. R.
  Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                              GENERAL OBJECTIONS

         Where no objection is interposed, the responses below reflect all responsive
 information and documents identified by Sheriff Casias before the date of the
 responses, pursuant to a reasonable and diligent search and investigation conducted
 in connection with this discovery. To the extent the discovery purports to require
 more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
 conduct a search beyond the scope of permissible discovery contemplated by the
 Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
 oppressive, and would impose an undue burden or expense.

        Sheriff Casias’s discovery responses are also made subject to the ongoing
  discovery and trial preparation in this case. These discovery responses are made
  based on the best information, including facts available as of the date of such
  responses. Sheriff Casias reserves the right to amend, supplement, or change these
  discovery responses as permitted or required under the Federal Rules of Civil
  Procedure based on additional information obtained through the discovery and trial
  preparation process.

        Sheriff Casias makes each individual response subject to and without
  waiving the conditions and objections that are stated in the sections of these


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  responses entitled “General Objections” and “Objections to Instructions and
  Definitions” and that are specifically referred to in that particular individual
  response.

         Sheriff Casias makes each individual response without adopting in any way
  (unless otherwise stated) the terms and phrases that Defendant purports to define
  in his discovery. When Sheriff Casias uses words or phrases that Defendant has
  purported to define, those words and phrases should be given either (a) the meaning
  set out by Sheriff Casias in his responses, or in its objections to the specific
  definitions, or (b) the ordinary meaning of such words or phrases.


             OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

         Defendant has purported to define several terms used in his discovery. In his
  responses, Sheriff Casias gives ordinary words and phrases their ordinary meaning.
  By making this written response, Sheriff Casias does not (a) adopt any purported
  definition, (b) waive or limit its objections to Defendant’s purported definitions, or
  (c) concede the applicability of any such definition to any term or phrase that might
  be contained in written responses. Wherever these words are used in Defendant’s
  interrogatories, these objections and these clarifications are incorporated, unless
  otherwise specified in the request.

         Defendant purported to define “you” and “your” to include “counsel for
  Plaintiffs.” Sheriff Casias objects to this definition to the extent that it purports to
  require the disclosure of information, communications, or documents protected from
  disclosure by the attorney-client privilege, work product immunity, or any other
  privilege or immunity.

  RESPONSES

  1. With respect to each and every home invasion or “robbery in the home” to which
  your department has responded since January 1, 2004, please:

     a. describe the circumstances surrounding the home invasion/robbery in the
        home, including: the date and location (by city and county), the number of
        perpetrators involved, whether or not the perpetrator(s) carried firearms, and
        whether or not the perpetrator(s), victim(s), or others fired any shots;

  Response: We have never had a call for a home invasion. The following is a break-
  down of the burglaries this county has had since 2004:

  2004:

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  Cold Reports: 41
  In Progress: 4 (suspects were gone upon arrival)

  2005:
  Cold Reports: 41
  In Progress: 1 (suspect gone upon arrival)

  2006:
  Cold Reports: 146
  In Progress: 12 (suspects gone upon arrival)

  2007:
  Cold Reports: 23
  In progress: 4 (suspect gone upon arrival)

  2008:
  Cold Reports: 40
  In Progress 5 (suspects gone upon arrival)

  2009:
  Cold Reports: 29
  In Progress: 4 (suspects gone upon arrival)

  2010:
  Cold Reports: 32
  In Progress: 3 (suspects gone upon arrival)

  2011:
  Cold Reports: 30
  In Progress: 6 (suspects gone upon arrival)

  2012:
  Cold Reports: 11
  In Progress: 5 (suspects gone upon arrival)

  2013:
  Unavailable



        b. if a firearm was fired or otherwise used or displayed by any person,
        identify who used, displayed, or discharged the firearm, the manner in which
        they did so, whether the firearm used a magazine, the capacity of any

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        magazines from which bullets were fired, the number of rounds fired by each
        individual, and whether any person was shot;

  Response: Sheriff Casias objects to this interrogatory on the ground that the
  phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
  without waiving this objection: Not applicable.


  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response: Not applicable.


  2. With respect to each and every occasion when you, your predecessor(s) in office,
  or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
  2004 (not including firearm practice or training), please:

  a. describe the circumstances surrounding the firearm discharge, including the
  date, location (by city and county), the reason for the firearm discharge, and
  whether you, your predecessor(s), or deputy were fired upon;

  Response: Sheriff Casias objects to this interrogatory on the ground that it is
  overbroad and not reasonably calculated to lead to the discovery of admissible
  evidence. Subject to and without waiving this objection:

  2005 – Two deputies were responding to a call regarding a fire when they were
  approached by an armed rancher. One deputy was carrying a Glock pistol and the
  other deputy was carrying a Ruger pistol. The rancher had drawn a loaded revolver
  and had a rifle in his truck. The deputies were forced to shoot and kill the rancher.


  b. if a firearm was fired by any person involved in the event, identify who fired the
  firearm, whether the firearm used a magazine, the capacity of any magazines from
  which bullets were fired, the number of rounds fired by each individual, and
  whether any person was shot;

  Response: Sheriff Casias objects to this interrogatory on the ground that the word
  “event” is vague. Subject to and without waiving this objection:

  2005 – During the altercation with the rancher, one deputy fired 5 rounds and the
  other deputy fired 1. The rancher was shot.


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  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response: In the 2005 altercation the rancher was shot and killed.

  3. With respect to the allegations of paragraph 102 of the First Amended Complaint
  (doc. #22), describe every instance since January 1, 1973 in which you or your
  predecessors in office requested the armed assistance of able-bodied adults (“posse
  comitatus”). In your response, state in detail the circumstances surrounding each
  such request, including:

  a. the reason for the request, the number of individuals who responded to the
  request, whether such individuals were law enforcement officers or were deputized
  for the purposes of participating, and whether these individuals were required by
  you or your predecessors to carry firearms in connection with their participation;

  Response: We had a Sheriff's Posse program until 2007 but there was never any
  incident in which a firearm was used. There is currently a Reserve Officers program
  in place but it has never been involved in an incident where firearms were
  displayed or discharged.

  b. whether any individual who responded to the request to assist law enforcement
  or any individual(s) they encountered while assisting law enforcement discharged a
  firearm. If shots were fired, state the circumstances surrounding the discharge of
  the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
  magazine, the capacity of any magazines from which bullets were fired, the number
  of rounds fired, and whether any person was shot;

  Response: Not applicable.

  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response: Not applicable.

  4. With respect to the allegations of paragraph 103 of the First Amended Complaint
  (doc. #22), describe every instance since January 1, 2004 when you or your
  predecessors appointed deputies who were not certified peace officers. In your
  response, state in detail:




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  a. the date and duration of each individual’s appointment, the circumstances
  surrounding the need for the “non-certified” deputy, whether the non-certified
  deputy was required to carry a firearm, whether the “non-certified” deputy carried a
  firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
  any non-certified deputy ever discharged a firearm;

  Response: We have two detention officers and two court house security guards. All
  of these individuals are required to follow agency policy and procedures. This
  includes following a shooting lesson plan. Each deputy is required to provide his
  own weapon and Las Animas County provides ammunition. If any non-certified
  deputy wishes to carry a firearm while on duty, they must qualify under our policies
  and procedures.



  b. the circumstances surrounding the discharge of the non-certified deputy’s
  firearm, including: the date and location of the event, whether the non-certified
  deputy was fired upon, the number of rounds fired by the non-certified deputy, the
  number of rounds fired by others involved in the event, the capacities of magazines
  from which bullets were fired, and whether any individual was shot;

  Response: Not applicable.


  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response: Not applicable.



  5. Describe every occasion since January 1, 2004 when you, your predecessor
  sheriff(s), a sheriff’s deputy, or a family member living with these individuals has
  discharged or otherwise used or displayed a firearm in defense of self, home, or
  other family members. In your response, describe the circumstances surrounding
  each event, including: the events leading to the use, display, or discharge of the
  firearm, the number of rounds fired by you or others, and the capacity of magazines
  used by firearms that were discharged. If any person was shot, identify the
  individuals who inflicted and suffered any gunshot injuries and state whether any
  individual was killed.




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  Response: Sheriff Casias objects to this interrogatory on the ground that the
  phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
  without waiving this objection:

  There are a number of threats made against the Sheriff and his deputies and thus
  extra patrols are requested and everyone is told to be aware of their surroundings.
  There have been no firearms displayed or discharged in response to these threats.


  6. With respect to the allegations of paragraph 105 of the First Amended Complaint
  (doc. #22), describe every instance since January 1, 2004 in which you or your
  predecessors in office requested armed citizen assistance for emergencies and
  natural disasters. In your response, state in detail the circumstances surrounding
  each such request, including:

  a. the reason for the request, the number of individuals who responded to the
  request, and whether such individuals were law enforcement officers or were
  deputized for the purposes of participating, and whether these individuals were
  required by you or your predecessors to carry firearms;

  Response: None.

  b. whether any individual who responded to the request to assist law enforcement
  or any individual(s) they encountered while assisting law enforcement discharged a
  firearm. If shots were fired, state the circumstances surrounding the discharge of
  the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
  magazine, the capacity of any magazines from which bullets were fired, the number
  of rounds fired, and whether any person was shot;

  Response: Not applicable.

  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response: Not applicable.



  AS TO OBJECTIONS:




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                                         david@i2i.org

                                         ATTORNEY FOR SHERIFFS AND DAVID
                                         STRUMILLO

  AS TO RESPONSES:
        Pursuant to 28 U.S.C. § 1746, I, James Casias, do hereby verify under
  penalty of perjury that the foregoing responses to Defendant’s Interrogatories are
  true and correct to the best of my information and belief.

        Dated this 12th day of August, 2013.

                                         ______              _____________
                                         /s/ Sheriff James Casias




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